Case 9:22-mj-08332-BER Document 182-1 Entered on FLSD Docket 08/30/2023 Page 1 of 33




                                     UNITED STATES CO URT

    UNITED STATES OF AM ERICA,
          Appellee


          V.                                                    USCA Case/923-12483
                                                                USDC Case#9:22-mj-8332-BER
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    UNITED STATESDEPARTM ENT OFTHETREASUR%                                                                  I
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                                                                 U.S.Dept.ofJustice
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                 Appellee

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             Appellant

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                         IN TH E UN ITED STATES COURT O F A PPEALS

                                FoR TI4E EI,EVENTH CIRCUIT

                                        No.21-1.1738-J

      U.S.DEPAKTMENT OFTHE TR:ASURY.
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     IN RE:UNITED STATES DEPAIW M ENT OFD E TRGASURY

                                                                 Case#
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           T0:ChiefJusticeJohn G.Roberts

           on 7/8/21and 7/23/21underthe(Ii/:CtORDER oftheUnie States
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    Attorney Generdl.''(SeeUnited StatesV-Hpwzrd.545 F-2t11044,6thCir.1976)

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                                              W ashingtop.Dc 20220
                                              (Applio nt)
                                               /s/loanaCristeiMeyer
                                              Uni/dStatesDepazlmenfofIustice
                                              950 PennsylvaniaAve.NW
                                              W ashington,DC 20530
                                               (Counsel)
                                              /s/Elizabeth Prelom r
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        Case 3:21-cv-00393-D-BT Documentz fFiled 02/24/21 Page 2 Of17 PagelD 4
     N6W GQMES tbe Bnited States Dephttment of the Treasvry Plaîntîff
                                                                 ,
     herein , by and throqgh FEDERAL TRBSTEE nuahe L . Berry pursuant to
     Departwept of Treasury (IRS) co#e :6 U.S.C j 6903 ahd the Pnited
     '
     StAtes Attorney General pursuant to 28 D.S.C. 9 516, 'iù a civfl
     cause of'forfeiture, 4nd respectfull# states the fotlowing:
                               INTRODPCTIOK

          1. This is a eivil action in rem pursuant t: t: P.S.C. 9
     981(a)(1)(A) and (c). 'rope4ures for this àdtion ate mandated by
     zule G of the Supplemental zuleé for Admirqlty or Harktime 6laims
     and Asààt Forfektuxe Actîpns and, to t:e extent Applicable, 18 P.
    S.C. jg 981,983, and 984, aad the Federal Rutes of Civil Proeedurq.
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          2. Thi, aotion seeks the forfeïture'of al1 right, titleyand
    interest in the above captioned yroperty because &hq ,prqperty
    cpnstitutes or is derivmd from wire fraud in #iolatiop :f 18 P. S.
    C. 9 1343, major fraud qgainst the Pnited States in violation of
    18 U.S.C. b 1b31, and financial monetary transactton: of tax in-
    struments and money laundering conspiracy in violatfon of 18 P.S.
    C. sû 1957 and 1956(h). às set èorth more fully bdlow, the con-
    spirators identified herpin, thrpugh fraud aàd false pretensqs,
    obtained the property and ot engage; in pumerous transactions
    concernkng fraud relating to tax knstkuments, monet4ry trans-
    actions, and money lauhdetipg.
         3. This court has jûrisdictkon over this action cpmmencqd
    by the Dnkted states under 28 U.S.C. 9 1345 and over :his aotion
    for fovfeiture under 28 U.S.C. û 1355(a). The Court has fn rem
    jurisdiotton over the de/endant property under 28 K.S.C. 5 1355(b).
         4. Thts court has venue pursuant to 28 B.S.C. 991355 and
    1395, as defendant property was found in this districty

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Case 9:22-mj-08332-BER Document 182-1 Entered on FLSD Docket 08/30/2023 Page 18 of
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      folloving propetty (hereafter collectivetyy ''Seized Federal Sec-
      uritieàf!):(SEE EXHIBIT A)
           6. The Seized Federal Securtties, pursulnt to tbe Kational
      Security Act (50 U.S.c. 3162(a)(1))and other means, are ûurrently
      being held in part by the Plaintiff, its FEDERAI. TRPSTEEN and or
      the Bnited States Marshals Service. (SEE EXHIBIT B)
           7. Pursuant to Supplementat Rule 0(2)(f), facts in svpport
      of a reasonable belief that the Government wtll be abte to meetr
      its burden of proof at trial as fotlows and have been verified
      by the attached FEDERAL TzpsTEE's 'oomplaint wtth the Treasury
      Inspector Generat for Tax Adminsitration (TICTA). (SEE EXHIBIT C)
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           8. on 12/02/2019, FEDEQAL TRDSTEE Duane L- Berry, and
      ''Whiatleblovex'' agatnst then Presfdent Donald J. Trump y moved the
      2nd Circuit Court of Appeals in an ''Emergenoy Motion to Intervend'
     in the Prestdents tax fraud investigation case whtch J.rlnvolved
                                                                    .



      the onited States Rouse of Representatives as Intervenors and
     several media outlets as Movants. See Trump v. Deutsohe Bank et al.
      (SEE EXHIBIT D)
           g.pending the action-.omfllions of un-redacted classified
     tax returns and other sensftive financial data, bank records and
     accounts of banking and tax transactions of several million amer-
     icans, federal government agenciesp includfng but not limlted to
     the Dnited States Department of Defense: Bnited States Department
     of State, and the (Plaintfff) United States Department of the
     Treasury were unlawfully obtaîned by the medla outlets, Presi-
     dent Trump, who is nov facing crimfnal impeacbment hearfngs in thè
     Senate, and several other conspfrptors. (SEE EXHIBIT E)

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Case 9:22-mj-08332-BER Document 182-1 Entered on FLSD Docket 08/30/2023 Page 19 of
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     Seized Federal Securities from the conspirators by the FEDEQAL
     TZPSTEE, the Platntiff, by and through its FEDEZAL TRPSTEE and
     its powers appointed to him by Congress pursuant 26 P. S.C j 6903
     employed the Nakional Security Act , and other means, to retrfeve
     the Seized Federal Securities.
          11. The leak of the Seized Federal Securittes has been a
     direct breach of the national security ôf the ënited States in
     which several tr:llîon dollars of wonetary transactions are po-
     tentially being exposed and compromised by the conspirators and
     other forefgn entitiesy including the 'dark web ' and Eusgian
     operatives.
          12. The leak is also in direct violation of the Grxmm-
     Leach-Btley Aoty in which financial institutions are not permit-
     ted to disclose uonpublic information of a customer to a third
     party without the consent of the customer . See 15 U.S.C. 9 6802
     (a)(b). Nonpublic personal information includes personally iden-
     tifiable financial account infromation , including names and street
    addresses, where those details are disclosed in a manner tbat in-
    dicates the associated names are clients of a fiancial înstitutiou
    See 16 C.F.R. j 313.3(n)(1)(:), (3)(iî). Al1 of which have been
    faotors in thts lèak.
          13.   Furthermore, Otax returns are generally afforded special
    protection from public disclosure d', See e . g. Solomon v. Siemens
    Indus., Inco, 8 f. Supp. 38 261 , 285-864E.9.N.7. 2014) and any un-
    lawful possession of tax returns for specific indfvfduals or gov-

    ernment security agencies would jeopardize the natiobal security
    of the Dnîted States.




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Case 9:22-mj-08332-BER Document 182-1 Entered on FLSD Docket 08/30/2023 Page 20 of
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       Case 3:21..cv-00393-D-BT Docunlent2 Filed 02/24/21 Page 5 Of17 PagelD 7
                          t        CONCLDSION


           14. By virtue of the foregoing, ALL right, title, and
     intetest in the Seized Eederal Securktleszhell r in the Pnited
     States at the time of the commission of the unlawful acts giving
     rise to forfelture has now become forfeitabte to the Uaited
     States.
     WR2REF0RE, tbe Plaintiff respectfutty prays the Court thatt
     A. Due notice be given to al1 known conspirators to appear
          and show oause why the forfetture should not be decreedl
     B. Judgment be entered declartng the Seized Federal Securities
          be forfeited to the Bnited States for dtsposttfon accord-

          ing to lawland
      C. The Plaintfff be granted suoh other aad further relfef asJ
          this Court may deem just and proper, together vith the
          costs and disbursements of this action y inoludîng but not
          limited to the expenses of maîntenanee and protection of the
          Seized Federal Securitles.



       Dated k January 29, 2021               Respectfully submltted ,

                                   PNITED STATES DEPARTMENT OF T:E TREASURY
                                                   by and through
                                           FEDERAL TRPSTE: DUANE L. BERRY




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         Case 9:22-mj-08332-BER Document 182-1 Entered on FLSD Docket 08/30/2023 Page 21 of
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              DONALDJ.TRUM P,
                                                          Plainx -Appellee,
              VeISIIS

              UN ITED STATES O FAM ERICA,


                                                       D efendant-Appellant.




                         Appealfrom theUnited statesD isG ctCourt
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Case 9:22-mj-08332-BER Document 182-1 Entered on FLSD Docket 08/30/2023 Page 27 of
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              2                   Opinion oftheCourt               22-13005

              BeforeW ILLIAM PRYOR,Chiefludge,GIGNT,andBM SHER,Circuit
              Judges.
              PERCURIAM:
                    This appeal requires us to consider whether the district
              court lmd jurksdiction to block the United States from using
              lawfully seized recordsin a crim inalinvesua don. RYe answeris
              nO.

                    FormerPresidentDonaldJ.Trump broughta dvilaction
              seeking an injuncuon againstthegovem m entafteritexecuted a
              searchw arm ntathisM ar-a-Lago residence.H earguesthatacourt-
              m andated spedalm asterreview processisnecessary because the
              govem m ent'sPrivilege Review Team protocolsw ere inadequate,
              because various seized docum ents are protected by execudve or
              attom ey-client privilege, because he could have declassiqed
              docum entsordesignated them aspersonalm therthan presidential
              records,and- if:11that fails- because the govem m ent's appeal
              wasprocedum lly delldent. The govem m entdisagreesw ith each
              contention.
                    These disputesignoreonefundam entalqueO on- w hether
              thedisuictcourthad thepow erto hearthecase.Afterall:'T ederal
              courtsare colxrm oflimitedjurisdicdon. They possessonly that
              powerauthorized by Consum don and statute,which isnotto be
              expanded byjudicialdecree.'' Kokkonen p;Guardianfzf Ins.Co.
              ofAm..511U.S.375,377(1994)(dtadon omitted).
Case 9:22-mj-08332-BER Document 182-1 Entered on FLSD Docket 08/30/2023 Page 28 of
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               6                    Opinion ofthe Court                  z.
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                     Even so. the FBI developed m ore evidence that other
               dassiGed docttm ents a m ained atM ar-a-Lago. In August2022-
               over one-and-a-half yeats after the end ofPlaintlfrs presidential
               adminismauon,six m onthsafterthe nn't> nsfer ofboxes to the
               National Arcluves, and three m onths afte.r the m bpoena w as
               served- the DepartmentofJustice sought a search warmnt. lt
               presented an FBI agent's swom aë davitto a Florida m agistm te
               judge,who an ed that probable cause exieed to believe that
               evidence ofcrim inal violations would.likely be found at M ar-a-
               Lago. W a= nt Affldavit at 1,32;N odce ofFiling of Redacted
               Dotumentsat2,In ze Sealed J'  ex
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                                              arc./zG arrapt No.22-mj-08332
               (S.D.Fla.Aug.11,2022)(f'searchW am m t'').Them agis> tejudge
               issuedasearchwarzuntfortheol ces,stomgerooms,andpotenùal
               stomgesitesatPlaindF sresidence,and authorized theselure oE'
                     M physical docllm ents and records consdm ting
                     evidence,contvaband,fruitsofrrim e,orotheritem s
                     illegally possessed in violadon of18U.S.C.jj 793,
                     2071,or1519,includingthe followhw
                     a. Any physical docum ents with classiflcation
                     m arkinm , along Nvitlt any containeo /boxes
                     (induding any other contents) in which such
                     docum ents are loc ted, as well as any other
                     containets/boxesthatarecollec-tively stotrd orfound
                     together w it'
                                  h the aforem endoned docum ents and
                     containeo /boxes;
Case 9:22-mj-08332-BER Document 182-1 Entered on FLSD Docket 08/30/2023 Page 29 of
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               20                   Opinion ofthe Coun                      22-13005

               atising from the govem m ent's access to x nqitive personal
               inform adon or tbe threatofpotential
                                                 ' prosecution as ix*epax-
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               injuries.And heasksusto flnd thathehasno othertvmedyapart
               &om equitablejurisdiG on,even though hefacesno rem ediable
               hnrm .Anyonecould m ake these argum ents.And accepting them
               w ould upend Ilichey a quiting fedemlcourtsto oversee routine
               eriminalinvestir tionsbeyond theircoludm tionally ascribed role
               of approving a searc.h w armntbased on a sholving ofprobable
               cause. O ur ptxcedents do not allow this,and neither does our
               consutudonalstructure.
                     Only one possible justiGm tion for equitable jurisdiction
               rem ains:thatPlaintill'isa form erPresidentofthe United States.lt
               isindeed ex> ordinaty foraw arm ntto beexecuted atthehom eof
               aform erpresident- butnotin a w ay thataffectsourlegalanalysis
               orothelavise#vesthejudidarylicenseto interfem in an ongoing
               invesdgadon. The Rlbhey testhasbeen in place for nearly O y
               years; its lim its apply no m aaer who the govem m ent is
               investigaung. To Gvate a spedalexcepuon here would defy our
               Nation'sfoundaùona  .lprindplethatourlaw appliesGtoa11,without
               regardtonumbers,wealth,ormnk-''xsh?reofGeorgiaK Brallslbr4
               3U.S.(3Dall.)1,4(179* .
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                     The law is dear. W e cannotqvrke a rule tbat allow s any
               subjectofa searcb wnrmntto block govem m entinve.stiéaradons
               afterthe execution ofthe watvant. Norcan we qvrite a rule that
               allowsonly form erpresidentsto do so. Eitherapproach w ould be
Case 9:22-mj-08332-BER Document 182-1 Entered on FLSD Docket 08/30/2023 Page 30 of
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              22-13005             œ inion oftheCourt
              a mdical reordering of our caselaxv km iting the fedem l couus'
              involvem ent in crim inalinvesdgadorzs. And botl1w ould violate
              bedrock sepam tion-ofm weo Iim l 'tatiolu. Accordmg
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              w ith the govem m enttllatthe distxic'tcourtim properly exerdsed
              equitablejudsdicuon,and that21= 1- 1oftheentirepm ceeding is
              requim d.
                    The diKtrict coull im ptw erly exerdsed equitable
               juxisdie on in this case. For that reason, we VAG .%*E the
              Septem ber5 orderon appealand REM AN Ia wvith inm qlcdonsfor
              thedistric'tcourtto DVSW KNtheunderlying dvilaction.
Case 9:22-mj-08332-BER Document 182-1 Entered on FLSD Docket 08/30/2023 Page 31 of
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            V.                                      Casè#9:23-cI<80101-AM C -1


       DONALD J.TkUMP,etal.,
                   Defendanl

                    MOTION *0 RETURN PROPERW -RULE411)
             Rule411)allowsforapersonaggrievedbythedepravatioq ofseized
       property to moveforitsreturn.

             0n06-21-2021theElevenyh Circuiygvantedtnterested Partyand Federal
       Trustee Duane L.Berryastay pending thearrestofclassihed Seiked Federal.
       Securlties,whichconsigtedofDonaldj.Trump'ssnancial,bank,andtnvrecords.
       Seeattached-A.
            W hereas,SEIZKD PEDSRALSECURITIEShavebeenarrested,howeverthe
       attaçhedportionofDoimldJ.vump'ssnapciàl,bankandortu tecotdsarrestedin
       thisacuoninrelatedCase#2i-8832and#22-13061SM LEDSEARCHWARRANT
       arealsosubjecttoSEIZED FEDEM LSECURITIES.Seeattached-B.
            The Movgntsnow requestthereturp ofthisao ched propqrty,asitis
       simultaneouslyunderarrestbytheDepartmentofJusticeinMovant'sinvestigation.
            Furthermore,the Eleventh Circuitin Case#22-13005,Trum p V.U.S.A.,àtated
       thattheCourtcannotblockaGovernmentinvestigationaftertheexecudonofthe
       warrant Seeattached-c.

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       Dated:06-20-7023                              Respedfullystlbmitted,
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